                                                                           t

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                                   U NITED STATES D ISTRICT C OUR T
                                           SO UTH ERN DISTRICT O F FLOIX A
                                                   M TAM IDIVISIO N

 UNITED STATES OF AM ERICA                                            j     JUDGM ENT IN A CRTM INAT,CASE
                                                                      j
 v.                                                                   j
                                                                      j     CaseNllmber:1:21-CR-20495-                   (1)
 M ICH AEL J.VAN NO STM ND                                            j     USM Number'
                                                                                      .31169-004                            .

                                                                      j
                                                                      j     CounselforDefendant:                '
                                                                           JeffreyD .M arcusand Brandon S.Floch
                                                                      j     CounselforUnitedStates:
                                                                            Thom asAustin W atts-Fitzgerald

THE DEFENDANY:
 (
 ZI pleadedguiltytoCount1ofthelnformation.
 H pleadedguiltytocountts)beforeaU.S.Magistrate
       Jud e,w hich wasacce tedb thecourt.                                                                      .
       pleadednolocontenderetocountts)whichwas                                                                  '
       acce ted b thecoul't
 Z wasfoundguiltyoncotmtts)aûerapleaofnotguilty                                      '

Thedefepdantisadjudicatedguiltyoftheseoffenses:
 Title& Section /NatureofO ffense                                                               O ffenseEnded           Count
 18U.S.C.j371.F Conspiracytoknowinglyexportwildlife,specificallyvariousspecies()fwild- 09/30/2021                       1
 caughtturtles,knowing thatsaid wildlifeweretransported and sold in violation ofthe Iaws
 and regulationscftheUnited States.
                   ; ..r                                                         1                                  .
                    .
                    .:'




Thedefendantissentencedasprovidedinpages2through7ofthisjudgment.'
                                                                I'
                                                                 hesentenceisimposedpursuanttotheSentencing
Reform Actof1984.

 EEI '
     T'
      hedefendanthasbeenfotmdnotguiltyoncountts)
 (Z1 Countts) E1is E1 aredismissedonthemotionoftheUnitedStates
        ItisorderedthatthedefendantmustnotifytheUnited Statesattorney forthisdistrictwithin 30 daysofany changeofname,
residence,ormailingaddressuntilallfmes,restitution,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.If
orderedtopay restittztion,thedefendantmustnotifythecourtandUnitedStatesatlorney ofm aterialchangesin economic
circum stances.

                                                               A pril19.2022                         '
                                                               DateofImpositionofJudgment




                                                               Sign reofJ dge

                                                               K ATTTL EN M .W HULG M S
                                                               UM TE STA TES DISTRTCT JUDG E
                                                               NameandTltleofJudge
                                                                                         & ,y
                                                               Date
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DEFENDANT:             M ICHAEL J.VAN NO STRM D
CA SE N U> ER:          1:21-CR-20495-KMW(1)
                                               IM PR ISO N M EN T

'
I'
 hedefendantishereby committedtothecustody oftheUnited StatesBttreau ofPrisonstobeimplisonedforatotalterm of:
7 m onths asto Count1 ofthe Inform ation.

 I
 ZI '
    I'
     hecourtmakesthefollowingrecommendationstotheBureauofPrisons:
       D efendantbedesignated to FCC Butner,North Carolina.


 (Zi ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
 EZI ThedefendantshallsurrenderiotheUnitedStatesMarshalforthisdistrict:

              at                              ED a.m.            P.m .

              asnotifiedby theUnited StatesM arshal.

 I
 ZI ThedefendarltshallsurrenderforserviceofsentenceattheinstitmiondesignatedbytheBureauofPrisons:

         (
         XI by12:00p-m.on6/20/2022
         Z asnotitiedbytheUnitedStatesMarshal.
         E(I asnotitiedbytheProbationörPretrialServicesOffice.
              **Ifnotyetdesignated,D efendantshallselfusurrendertotheU .S.M arshalsin thisdistrict**


                                                       M TU M
1haveexecutedthisjudgmentasfollows:




at1 ,          . '              )
                                ,1,withacertitiedcopyofthisjudgment.



                                                                             UARTED STATESStYRSHAL

                                                                                      By
                                                                          DEPUTY USRTED STATESSDERSHAL
    Case 1:21-cr-20495-KMW Document 38 Entered on FLSD Docket 04/22/2022 Page 3 of 7

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DEFENDAN T:            M ICHAEL J.VAN N OSTRAN D
CASENU= ER:            1:21-CR-20495-KMW (1)
                                         SU PER NJSED R ELEA SE
Uponreleasefrom imprisonment,thedefendantshallbeonsupervisedreleaseforaterm of:three(3)years.


                                     M A N D A T O R Y C O N D ITIO N S
     Youm ustnotcomm itanotherfederal,stateo'
                                            rlocalcrim e.
 2. Youm ustnottmlaw ft
                      zllypossessacontrolledsubstance.
 3. Youmustrefrain 9om any unlawfuluseofacontrolledsubstance.You mustsubmittoonedrug testwithin 15daysofrelease
    from imprisonmentandatleasttwoperiodicdrugteststhereafter,asdetermined bythecoult
        E(I Theabovednzgtestingconditionissuspended,basedonthecourt'sdeterminationthatyouposealow riskoffuture
             substanceabuse.(checkfapplicable)
        Youmustmakerestitmioninaccordancewith 18U.S.C.jj3663and3663A oranyotherstatuteauthorizingasentence
        ofrestitution.(checkfapplicable)
 5. (
    H YoumustcooperateinthecollectionofDNA asdirectedbytheprobationoftker.(checkfapplicable)
 6. Elj YoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotitkationAct(34U.S.C.j20901,et
        seq.)asdirectedbytheprobationofticer,theBureauofPrisons,oranystatesexoffenderregistrationagencyinwhich
        youreside,work,areastudent,orwereconvictedofaqualifyingoffense.(checkfapplicable)
        Youmustparticipateirlarlapprovedprogram fordomesticviolence.(checkfapplicable)
          You mustcomplywith thestandardconditionsthathavebeen adoptedbythiscourtaswellaswithanyadditional
 conditionsontheattachedpage.
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DEFENDAN T:               M ICHAEL J.VAN N OSTM N D
CASE N UM BER:            1:21-CR-20495-KM W (1)
                             STANDARD COO ITIONSOF jUPERVISION
Aspartofyoursupervisedrelease,you mustcomplywith thefollowingstandard conditionsofsupervision.Theseconditionsare
imposedbecausetheyestablish thebasicexpectationsforyourbehaviorwhileonsupervision andidentifythem inimum toolsneeded
by probation oftk erstokeep inform ed,reporttothecourtabout,andbring aboutimprovem entsirlyourconductand condition.

1.Youmustreporttotheprobationofficeillthefederaljudicialdistrictwhereyouareauthorizedtoresidewithin72hoursofyotlr
releasefrom im prisonm ent,unlesstheprobation officerinstructsyou toreporttoadifferentprobation officeorw ithin adifferenttim e
fram e.
2.Afterinitiallyreportingtotheprobationoftice,you willreceiveinstructions9om thecourtortheprobation ofticerabouthow and
whenyou mustreporttotheprobation ofticer,andyou mustrepol'     ttotheprobationoftkerasinstructed.
3.Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithoutfirstgettingpermissionfrom
thecourtortheprobation officer.
4.Y ou mustanswertruthfullythequestionsaskedbyyourprobationofticer.
5.Y oum ustliveataplaceapprovedbytheprobationoftk er.Ifyouplantochangewhereyou liveoranythingaboutyourliving
arrangements(suchasthepeopleyoulivewith),youmustnotifytheprobationofticeratleast10daysbeforethechange.Ifnotifying
theprobation officerin advanceisnotpossibleduetounanticipated circumstances,you mustnotifytheprobation oftkerwithin 72
hoursofbecoming awareofachangeorexpectedchange.
6.Youmustallow theprobationoftkertovisityouatanythueatyotlrhomeorelsewhere,andjoumustpermittheprobationoftker
totakeany item sprohibited bytheconditionsofyoursupervisionthatheorsheobservesin plam view .
7.Youmustworkfalltime(atleast30hoursperweek)atalawfultypeofemployment,unlesstheprobationofticerexcusesyoufrom
doingso.Ifyoudonothaveftlll-timeemploymentyoumusttrytofmdft
                                                          zll-timeemployment,unlessthejrobationoffkerexcuses
youfrom doingso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourposltionoryourjob
responsibilities),youmustnotifytheprobationofticeratleast10daysbeforethechange.Ifnotifyingtheprobationofficeratleast10
daysin advanceisnotpossibleduetounanticipated circumstances,youmustnotify theprobation officerwithin72hotlrsof
becom ing awareofachangeorexpected change.
8.Youm ustnotcomm unicateorinteractw ith som eoneyou know isengagedin crim inalactivity.Ifyou know som eonehasbeen
convictedofafelony,you mustnotknowingly communicateorinteractwiththatperson withoutflrstgettingthepermission ofthe
probation officer.
9.lfyouarearrestedorquestionedby alaw enforcem entofticer,you mustnotify theprobation officerwithin72 hours.
10.Youmustnotown,possess,orhaveaccesstoaflrearm,ammunition,destructivedevice,ordangerousweapon(i.e.,anythingthat
wasdesigned,orwasmodifiedfor,thespeciticpurposeofcausingbodilyinjuly ordeathtoanotherpersonsuchasnunchalcusor
tasers).
11.Youmustnotactormakeany agreementwith a1aw enforcementagency to actasaconfidentialhuman sourceorinformant
withoutflrstgettingtheperm ission ofthecourt.
12.lftheprobationoftkerdeterminesthatyouposearisktoanotherperson(includinganorganization),theprobationoflicermay
requireyou tonotifytheperson abouttheriskandyoum ustcomply w iththathlstnlction.'  Fheprobation ofticerm ay contactthe
person and confirm thatyouhavenotifiedtheperson abouttherisk.
13.You m ustfollow theinstructionsoftheprobation officerrelated totheconditionsofsupervision.

U .S.Probation O ffice U se O nly
A U .S.probation ofticerhasinstructedm eontheconditionsspecified bythecourtandhasprovidedm ew ith awritten copyofthis
judgmentcontainingtheseconditions.Iunderstandadditionalinformationregardingtheseconditionsisavailableat
ww w.tlsp.uscourts.aov.

                                                                                          D ate
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DEFENDAN T:            M ICHAEL J.VAN N OSTRAN D
CASE N UM BER:         1:21-CR-20495-KM W (l)
                            SPE C G L C O N D ITIO N S O F SU PER V ISIO N

FinancialDisclosure Requirem ent:The defendant shallprovide complete access to fnancialinformation,
including disclosureofallbusinessand personalfinances,to theU.S.Probation Officer.

H om e D etention with Electronic M onitoring: Im m ediately upon release f'  rom im prisonm ent,the defendant
shallparticipatein theHom eDetention ElectronicM onitoring Progrnm foraperiod of12 m onths. During this
tim e,the defendantshallrem ain athisplace ofresidence exceptforem ploym entand other activities approved in
advance and provide the U .S.Probation O fficer w ith requested doctlm entation.The defendantshallm aintain a
telephoneathisplace ofresidence without'callfozwarding','callwaiting',am odem ,'caller1D ',or'callback/call
block'services forthe above period.The defendant shallw ear an electronic m onitoring device and follow the
electronic m onitoring procedures as instructed by the U .S.Probation Officer.The defendant shall pay for the
electronicm onitoring equipm entattheprevailing rateorin accordancewith abilityto pay.

M entalH ealth Treatm ent:The defendantshallparticipate in an approved inpatient/outpatientm entalhealth
treatmentprogram.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedon ability
to pay oravailability ofthird-party paym ent.

No New DebtRestriction:Thedefendantlshallnotapply for,solicitorincurany furtherdebt,included butnot
lim ited to loans,lines ofcreditorcreditcard charges,eitheras aprincipalor cosigner,as an individualorthrough
any corporateentity,withoutfirstobtainingpermission from theUnited StatesProbation Officer.

Perm issible Search:The defendant shall subm it to a search of his/her person or property conducted in a
reasonable m nnner and atareasonable tim e by the U .S.Probation Officer.

R elated C oncern R estriction: The defendant shallnot ow n,operate, act as a consultant,be em ployed 111,or
participate in any m nnnersin any related concern dtlring theperiod ofsupervision.

Self-Em ploym entRestriction:Thedefendantshallobtainpriorwritten approvalfrom theCourtbeforeentering
into any self-em ploym ent.

Unpaid Restitution,Fines,orSpecialAssessm ents:Ifthedefendanthasany tmpaidnmotmtofrestitm ion,fines,
orspecialassessm ents,the defendantshallnotify theprobation officerofany m aterialchangein thedefendant's
econom ic circum stancesthatm ightaffectthe defendant's ability to pay.
    Case 1:21-cr-20495-KMW Document 38 Entered on FLSD Docket 04/22/2022 Page 6 of 7

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DEFENDAN T:              M ICH AEL J.VAN N OSTRAN D
CA SE N IM ER:           1:21-CR-20495-KM W (1)
                                  C R IM IN A L M O N ETM W PEN A L TIES
        Thedefendantmust a thetotalcriminalmoneta enaltiesunderthescheduleof a m ents a e.
                     A ssessm ent          R estitution       Fine     AV A A Assessm ent* JVTA A ssessm entfr*
 TOTALS                     $100.
                                00                    $.00 $100,000.00to
                                                            bepaidto the
                                                            LaceyA ct
                                                            Fund

 EII Thedeterminationofrestitutionisdeferreduntil          AnAmendedludgmentinaCriminalCase(AO245C)willbeentered
      aftersuch determ ination.
 E1 'I'
      hedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesirltheamountlistedbelow.
        lfthedefendantmakesapartialpayment,eachpayeeshallreceiveanajproximatelyproportionedpayment.However,pursuantto18U.S.C.
        j3664(i),a1lnonfederalvictimsmustbepaidbeforetheUnitedStateslspaid.


      Restitm ion amountorderedpursuanttopleaagreement$
      Thedefendantmustpay intereston restimtion and afmeofmorethan $2,500,unlesstherestitution orfmeispaidillf'
                                                                                                              ullbefore
      thefifteenthdayafterthedateofthejudjment,pursuantto18U.S.C.j3612(9.Allofthepaymentoptionsonthescheduleof
      paymentspagemaybesubjecttopenaltlesfordelinquency anddefault,pursuantto18U.S.C.j3612(g).
      Thecoul'tdeterminedthatthedefendantdoesnothavetheability topay interestanditisorderedthat:
      (
      1 theinterestrequirementiswaivedforthe          E
                                                      (((I fm
                                                            'e                       1 restit m ion
      (EI theinterestrequirementforthe                Elj fme                        Erl restitutionismodifiedasfollows:
Restitution with Imprisonment-Itisfurtherorderedthatthedefendantshallpay restitm ion intheamountof$.00.Dtlringthepeliodof
incarceration,paymentshallbemadeasfollows:(1)ifthedefendantearnswagesinaFederalPrisonIndustries(UNICOR)job,then
thedefendantmustpay50% ofwagesearnedtowardthefmancialobligationsimposedbythisJttdgmentinaCriminalCase;(2)ifthe
defendantdoesnotworkinaUNlcoRjob,thenthedefendantmustpayaminimum of$25.00perquartertowardthefmancial
obligationsim posedirlthisorder.Upon releaseofincarceration,thedefendantshallpayrestitution attherateof10% ofm onthlygross
earnings,untilsuchthneasthecourtmayalterthatpaymentscheduleilltheinterestsofjustice.TheU.S.BureauofPrisons,U.S.
Probation Oftk eandU .S.Attorney'sOfficeshallm onitorthepaym entofrestitm ion andreporttothecouz'tanym aterialchangein the
defendant'sabilitytopay.'   Fhesepaymentsdonotprecludethegovernment9om using otherassetsorincomeofthedefendantto
satisfy therestitution obligations.
:
yAmy,Vick'y,andAndyChildPomographyVictim AssistanceActof2018,18U.S.C.j225j
                                                                         '.
**JusticeforVictimsofTraffickingActof2015,18U.S.C.j3014.
#**FindingsibrthetotalamountoflossesarerequiredunderChapters109A,110,1IOA,and113A ofTitle18foroffensescommittedonorafter
September13,1994,butbeforeApril23,1996.
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DEFENDAN T:               M ICHAEL J.VAN NOSTM N D
CASEM JNIBER:              1:21-CR-20495-KMW (1)
                                            SC H ED U L E O F PA                EN T S
Having assessedthedefendant'sability topay,paymentofthetotalcriminalmonetarypenaltiesisdueasfollows:

 A     /
       E    Lumpsum paymentsof$100.00dueimmediately,balancedue
                                                                          '
ItisorderedthattheDefendantshallpaytotheUnitedStatesaspecialassessmentof$100.00ibrCount1,whichshallbedue
im m ediately.Said specialassessm entshallbepaid totheClerk,U .S.D istrictCourt.Paym entistobeaddressed to:

        U .S.CLERIC S OFFICE
        ATTN :FINAN CIAL SEC TIO N
        400NO RTH M IA M IAV EN UE,R O OM 8N 09
        M A M I,FLO IU DA 33128-7716

Unlessthecourthasexpresslyorderedothem ise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetalypenaltiesis
duedttring imprisonment.A1lcrim inalmonetarypenalties,exceptthosepaym entsmadethrough theFederalBureau ofPrisons'
lnm ateFinancialResponsibilityProgram,aremadetotheclerk ofthecourt.

Thedefendantshallreceivecreditfora11paymentspreviouslym adetowardany criminalmonetarypenaltiesimposed.
 IZI JohltandSeveral
       SeeaboveforDefendantandCo-DefendantNamesandCaseNumbers(including depndantnumber),TotalAmotmt,Jointand
       SeveralAm ount,andcorrespondingpayee,ifappropriate.

 I
 ZI '
    fhedefendantshallforfeitthedefendant'sinterestirlthefollowingpropertytotheUnitedStates:
       FO RFEITURE ofthedefendant'sright,titleand interestin certain property ishereby ordered consistentwith theplea
       agreem ent. The U nited States shallsubm ita proposed O rder ofForfeiturew ithin three daysofthisproceeding.

Paymentsshallbeappliedinthefollowingorder:(1)assessment (2)restitutionprincipal,(3)restitutioninterest,(4)AVAA assessment,(5)
tineprincipal,(6)fineinterest,(7)communityrestitmion,(8)JVTA assessment,(9)penalties,and(10)costs,includingcostofprosecution
andcourtcosts.
